USCA4 Appeal: 23-4693     Doc: 18          Filed: 03/01/2024   Pg: 1 of 3




                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                              No. 23-4693

         UNITED STATES OF AMERICA,

                   Plaintiff - Appellee,                   CONSENT MOTION FOR
                                                        EXTENSION OF TIME TO FILE
         v.                                              OPENING BRIEF AND JOINT
                                                                APPENDIX
         ARBAB SALEEM,

                    Defendant - Appellant.


              Pursuant to the Federal Rules of Appellate Procedure, Appellant Arbab

        Saleem respectfully requests this Court to extend the deadline to file the opening

        brief and joint appendix by 10 days, from March 4, 2024 to March 11, 2024. In support

        of this Motion, Mr. Saleem offers the following:

              1.     Counsel is court-appointed.

              2.     Counsel has concluded that extensive historical/fact research is

        necessary to present analysis of the Second Amendment’s application to the facts of

        this case after N.Y.S. Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111, 213 L. Ed.

        2d 387 (2022). Bruen has had a significant impact on Second Amendment litigation

        and rendered this appeal more research-intensive than anticipated.

              3.     As this Court is well aware, Mr. Saleem is incarcerated and difficult to

        get in touch with. He has been denied access to email, rendering communication even

        more difficult. Counsel needs a brief extension to facilitate one more call with Mr.

        Saleem before filing this brief.
USCA4 Appeal: 23-4693     Doc: 18       Filed: 03/01/2024   Pg: 2 of 3




              4.    The government consents to the relief requested in this Motion.

              WHEREFORE, Mr. Saleem respectfully requests a 10-day extension of the

        deadline by which to file his opening brief and joint appendix, up to and including

        March 11, 2024.

              Respectfully submitted, this 1st day of March, 2024.

                                                     /s/ William R. Terpening
                                                     William R. Terpening
                                                     N.C. Bar 36418

                                                     TERPENING LAW PLLC
                                                     221 W. 11th Street
                                                     Charlotte, North Carolina 28202
                                                     (980) 265-1700
                                                     terpening@terpeninglaw.com

                                                     Counsel for Arbab Saleem




                                                 2
USCA4 Appeal: 23-4693   Doc: 18       Filed: 03/01/2024   Pg: 3 of 3




                                  CERTIFICATE OF SERVICE

             I certify that I have filed this CONSENT MOTION FOR EXTENSION OF
        TIME TO FILE OPENING BRIEF AND JOINT APPENDIX through the Court’s
        ECF system, which constitutes service on all parties.

              Dated: March 1, 2024.

                                                   /s/ William R. Terpening
                                                   William R. Terpening




                                               3
